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10
     Hologram USA, Inc., Anakando Limited and
11   Uwe Maass

12                              UNITED STATES DISTRICT COURT

13                                      DISTRICT OF NEVADA

14
      HOLOGRAM USA, INC; ANAKANDO                         CASE NO. 2:14-cv-00772-GMN-NJK
15    LIMITED; and UWE MAASS,
                                                          JOINT STIPULATION OF DISMISSAL
                        Plaintiffs,                       PURSUANT TO FEDERAL RULE OF
16
             v.                                           CIVIL PROCEDURE 41(a)(1)(A)(ii)
17
      PULSE EVOLUTION CORPORATION;
18    PULSE ENTERTAINMENT CORPORATION;
      JOHN C. TEXTOR; DICK CLARK
19    PRODUCTIONS, INC.; JOHN BRANCA and
      JOHN MCCLAIN; MJJ PRODUCTIONS, INC.;
20    MUSION EVENTS LTD.; MUSION 3D LTD.;
      WILLIAM JAMES ROCK; IAN
21    CHRISTOPHER O’CONNELL; and DOES 1
      through 10,
22                 Defendants.
23    IAN CHRISTOPHER O’CONNELL; MUSION
      EVENTS LTD.; and MUSION 3D LTD.,
24
                        Counterclaimants,
25           v.
26    HOLOGRAM USA, INC.; ANAKANDO
      LIMITED; and UWE MAASS,
27
                        Counter-Defendants.
28
                                      JOINT STIPULATION OF DISMISSAL
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 1          Plaintiffs and counter-defendants Hologram USA, Inc. (“Hologram USA”), Anakando

 2   Limited (“Anakando”) and Uwe Maass (“Maass”) (collectively, “Plaintiffs”) and defendants and

 3   counterclaimants Ian Christopher O’Connell (“O’Connell”), Musion Events Ltd. (“Musion Events”),

 4   and Musion 3D Ltd. (“Musion 3D”) (collectively, the “O’Connell Defendants”), by and through

 5   their undersigned counsel and pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(ii), state as

 6   follows:

 7          WHEREAS, on May 15, 2014, Hologram USA, Maass and MDH Hologram Limited

 8   (“MDH”) initiated this action (Dkt. No. 1), and Anakando later substituted into this action in place

 9   of MDH (Dkt. No. 474);

10          WHEREAS, on January 30, 2015, Plaintiffs filed a Second Amended and Supplemental

11   Complaint (Dk. No. 188) (the operative complaint in this case);

12          WHEREAS, on September 3, 2015 and September 11, 2015, Magistrate Judge Nancy J.

13   Koppe issued two orders that imposed sanctions against Plaintiffs’ lead trial counsel, Mr. Ryan

14   Baker (“Baker”), and Maass jointly and severally in the amount of $17,236 for Maass’ failure to

15   appear in person at a mandatory settlement conference. (Dkt. Nos. 287, 295.) The amount of the

16   sanctions award reflected the sums that Defendants incurred in costs and attorneys’ fees in

17   preparation for the vacated settlement conference (Dkt. Nos. 295);

18          WHEREAS, Baker was required to, and did, report the judicial sanctions imposed upon him
19   to the State Bar of California pursuant to California Business & Professions Code section

20   6068(o)(3), which requires that an attorney report certain sanctions equal to or more than one

21   thousand dollars;

22          WHEREAS, on November 10, 2015, Plaintiffs voluntarily dismissed without prejudice

23   former defendants dick clark productions, inc., MJJ Productions, Inc., and John Branca and John

24   McClain in their capacities as co-executors of the estate of Michael J. Jackson (Dkt. No. 323);

25          WHEREAS, on May 11, 2015, this Court denied a Motion for Reconsideration of the orders

26   that imposed sanctions on Plaintiffs’ lead trial counsel, Ryan Baker (Dkt. No. 386);
27          WHEREAS, on March 13, 2016, the O’Connell Defendants filed their Second Amended

28   Answer and Counterclaims (Dkt. No. 349) (the operative answer and counterclaims in this case);
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 1           WHEREAS, on April 22, 2016, Plaintiffs voluntarily dismissed without prejudice former

 2   defendant William James Rock (Dkt. No. 367);

 3           WHEREAS, on June 9, 2016, Plaintiffs voluntarily dismissed former defendants Pulse

 4   Evolution Corporation, Pulse Entertainment Corporation and John Textor with prejudice (Dkt. No.

 5   403);

 6           WHEREAS, on January 31, 2017, the court ordered that the O’Connell Defendants’ second

 7   counterclaim for declaratory relief be stricken without leave to amend (Dkt. No. 438);

 8           WHEREAS, on October 2, 2017, pursuant to a stipulation, this Court dismissed Hologram

 9   USA’s eighth cause of action for intentional interference with prospective economic advantage,

10   MDH’s ninth cause of action for breach of fiduciary duty, Plaintiffs’ tenth cause of action for false

11   advertising, and Plaintiffs’ eleventh cause of action for unfair competition (Dkt. No. 474);

12           WHEREAS, as a result of the foregoing dismissals, Plaintiffs and the O’Connell Defendants

13   are the only remaining parties in this action, and the sole remaining claims and counterclaims to be

14   tried consist of Plaintiffs’ first through seventh causes of action for patent infringement and

15   declaratory relief, Maass’ ninth cause of action for breach of fiduciary duty, and the O’Connell

16   Defendants’ first counterclaim for declaratory judgment of non-infringement;

17           WHEREAS, on February 3, 2018, following a mediation, Plaintiffs and the O’Connell

18   Parties entered into a binding confidential term sheet (the “Term Sheet”) that contemplated that “the
19   Parties shall work in good faith to negotiate a final long-form settlement agreement as quickly as

20   practicable following execution of this binding Term Sheet”;

21           WHEREAS, on April 17, 2018, Plaintiffs and the O’Connell Parties fully executed a

22   confidential long-form settlement agreement as contemplated by the Term Sheet;

23           WHEREAS, the judicial sanctions imposed on Baker in his personal capacity have

24   negatively affected his professional record and the parties agree that good cause and extenuating

25   circumstances exist to warrant removal of those sanctions, including that (a) the sanctions arose out

26   of the unexpected failure of Maass to appear for a mandatory settlement conference and Baker
27   attempted in good faith to attempt to secure Maass’ appearance; (b) the amount of the monetary

28   sanctions imposed ($17,236) was based on the fact that there were multiple defendants in this action
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 1   (including international defendants) who incurred travel costs and attorneys’ fees in connection with

 2   their scheduled appearance at the mandatory settlement conference, as opposed to any culpability of

 3   Baker; and (c) Baker was required by California law to report the sanctions to the State Bar and no

 4   party initiated efforts to personally sanction Baker.

 5          THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiffs

 6   and the O’Connell Parties to this action and through their counsel of record that:

 7              1.      The Court shall dismiss this action in its entirety. Maass’ claim for breach of

 8   fiduciary duty and the O’Connell Defendants’ first counterclaim for declaratory judgment of non-

 9   infringement shall be dismissed without prejudice. All the other claims asserted by the Parties shall

10   be dismissed with prejudice. Each Party will bear its own costs and attorneys’ fees.

11              2.      In addition, the Court vacates the the orders dated September 3, 2015 (Dkt. 287),

12   September 11, 2015 (Dkt. 295), and May 11, 2016 (Dkt. 386), only to the extent that they imposed

13   judicial sanctions on Ryan Baker in his personal capacity. The Plaintiffs, Mr. Baker and Baker

14   Marquart LLP shall not seek to recover from any of the current or former defendants in this action or

15   their counsel the monetary awards made pursuant to the aforementioned orders.

16   DATED this 25th day of April 2018.

17                                                  By: /s/ Craig A. Newby
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27
                                                    Maass
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 1   DATED this 25th day of April 2018.

 2                                        By: /s/ Eric J. Carsten
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11                                            Attorneys for Defendants Musion Events Ltd. and
                                              Musion 3D Ltd.
12

13

14   DATED this 25th day of April 2018.
15
                                          By: /s/ Ian Christopher O’Connell
16                                            Ian Christopher O’Connell

17

18
19

20   IT IS SO ORDERED:

21
     DATED this ____
                 25 Day of April, 2018.
22

23
      ____________________________________
24    Gloria M. Navarro, Chief Judge
      UNITED STATES DISTRICT COURT
25

26
27

28
                                  JOINT STIPULATION OF DISMISSAL
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